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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


  GWICH’IN STEERING COMMITTEE,
  ALASKA WILDERNESS LEAGUE,
  DEFENDERS OF WILDLIFE, and THE
  WILDERNESS SOCIETY,

                  Plaintiff,
                                                        Civ. A. No. 19-2978 (CJN)
          v.

  U.S. DEPARTMENT OF THE INTERIOR,
  U.S. BUREAU OF LAND MANAGEMENT,
  and U.S. FISH AND WILDLIFE SERVICE,

                  Defendants.


                                      [PROPOSED] ORDER

       Upon consideration of Defendants’ unopposed motion for extension of time to file an

answer to the complaint, it is this    day of                    , 2019,

       ORDERED that Defendants’ motion is hereby granted; and it is

       FURTHER ORDERED that Defendants’ Answer filed with this Court on November 13,

2019, shall be deemed timely filed.




Date                                              Carl J. Nichols
                                                  United States District Judge
